               Case 2:20-cv-01388-JCC Document 22 Filed 10/16/20 Page 1 of 2




                                                       THE HONORABLE JOHN C. COUGHENOUR
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 6
                                UNITED STATES DISTRICT COURT
 7
                               WESTERN DISTRICT OF WASHINGTON
 8                                       AT SEATTLE

 9    DANIEL COHEN, individually and on behalf of CASE NO. C20-1388-JCC
      all other similarly situated,
10
                                                  MINUTE ORDER
11                            Plaintiff,
              v.
12
      BLACKBAUD, INC., et al.,
13
                            Defendants.
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15
            The following Minute Order is made by direction of the Court, the Honorable John C.
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     Coughenour, United States District Judge:
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            This matter comes before the Court on Defendant Blackbaud, Inc.’s unopposed motion
18
     for an extension of time to respond to Plaintiff’s complaint (Dkt. No. 20.) Having thoroughly
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     reviewed the motion and relevant record, and finding good cause, the Court GRANTS the
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     motion and ORDERS that Blackbaud’s deadline to answer or otherwise respond to the complaint
21
     is extended until 30 days after the Judicial Panel for Multidistrict Litigation (JPML) rules on the
22
     Motion to Transfer in MDL Case No. 2972, which is currently pending before the JPML.
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     //
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     MINUTE ORDER
     C20-1388-JCC
     PAGE - 1
             Case 2:20-cv-01388-JCC Document 22 Filed 10/16/20 Page 2 of 2




 1   DATED this 16th day of October 2020.

 2                                             William M. McCool
                                               Clerk of Court
 3
                                               s/Tomas Hernandez
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                                               Deputy Clerk
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     MINUTE ORDER
     C20-1388-JCC
     PAGE - 2
